              Case 2:17-cr-00060-DAD Document 105 Filed 05/04/18 Page 1 of 3


1    MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
2
     Sacramento, CA 95814
3    (916) 201-4188
     Mike.Long.Law@msn.com
4
     Attorney for BRITTANY MAUNAKEA
5

6

7

8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     THE UNITED STATES OF AMERICA,                 ) No. 17-60 MCE
11                   Plaintiff,                    )
12
                                                   ) STIPULATION AND
            v.                                     ) ORDER MODIFYING THE SCHEDULE
13                                                 ) FOR Ms. MAUNAKEA’S PRE-SENTENCE
                                                   ) REPORT FOR A NEW SENTENCING DATE
14   BRITTANY MAUNAKEA,                            ) OF AUGUST 16, 2018
15
                                                   )
                     Defendant.                    ) Judge: Hon. Morrison C. England, Jr.
16   ================================)
17
            Defendant Brittany Maunakea is requesting a continuance of her sentencing hearing, which
18

19
     is presently set for June 14, 2018. AUSA Amy Hitchcock, on behalf of the United States Attorney’s

20   Office, and USPO Julie Besabe, on behalf of the United States Probation Office, have no objection to

21   the requested continuance. The parties hereby stipulate to re-set the schedule for the pre-sentence
22
     report as follows:
23
            Judgment and Sentencing Date: August 16, 2018
24
            Reply, or Statement of Non-opposition: August 9, 2018
25

26          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: August 2, 2018
27
            The Pre-Sentence Report shall be filed with the Court and Disclosed to counsel no
28
            later than: June 28, 2018


                                                    -1-
             Case 2:17-cr-00060-DAD Document 105 Filed 05/04/18 Page 2 of 3


1
           Counsel's written objections to the Pre-Sentence Report shall be delivered to the
2
           probation officer and opposing counsel no later than: June 21, 2018
3
           The proposed Pre-Sentence Report shall be disclosed to counsel no later than: May 3,
4          2018
5

6    Dated: May 1, 2018                         Respectfully submitted,

7                                                       /s/ Michael D. Long
                                                        MICHAEL D. LONG
8
                                                        Attorney for Brittany Maunakea
9

10   Dated: May 1, 2018                                 McGREGOR SCOTT
                                                        United States Attorney
11

12                                                      /s/ Amy Hitchcock
                                                        AMY HITCHCOCK
13                                                      Assistant U.S. Attorney
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                  -2-
             Case 2:17-cr-00060-DAD Document 105 Filed 05/04/18 Page 3 of 3


1                                                ORDER
2
            Pursuant ot the parties’ stipulation and good cause having been shown, the Court hereby
3
     orders that the schedule for Ms. Maunakea’s pre-sentence report is amended as follows:
4

5           Judgment and Sentencing Date: August 16, 2018

6           Reply, or Statement of Non-opposition: August 9, 2018
7
            Motion for Correction of the Presentence Report shall be filed with the Court and
8           served on the Probation Officer and opposing counsel no later than: August 2, 2018

9           The Pre-Sentence Report shall be filed with the Court and Disclosed to counsel no
            later than: June 28, 2018
10

11          Counsel's written objections to the Pre-Sentence Report shall be delivered to the
            probation officer and opposing counsel no later than: June 21, 2018
12
            The proposed Pre-Sentence Report shall be disclosed to counsel no later than: May 3,
13
            2018
14
            IT IS SO ORDERED.
15

16   Dated: May 3, 2018

17

18

19

20

21

22

23

24

25

26

27

28




                                                   -3-
